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                                                                          5                      IN THE UNITED STATES DISTRICT COURT
                                                                          6                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)      )       MDL No. 1917
                                                                          8   ANTITRUST LITIGATION               )
                                                                                                                 )       Case No. C-07-5944-SC
                                                                          9                                      )
                                                                                                                 )       ORDER DENYING MOTION TO
                                                                         10   This Order Relates To:             )       MODIFY DIRECT PURCHASER
                               For the Northern District of California
United States District Court




                                                                                                                 )       PLAINTIFF CLASS
                                                                         11     Case No. 14-cv-02058 SC          )       CERTIFICATION SCHEDULING
                                                                                                                 )       ORDER
                                                                         12     CRAGO, d/b/a Dash Comp., Inc. et )
                                                                                al.                              )
                                                                         13                                      )
                                                                                                 Plaintiffs,     )
                                                                         14                                      )
                                                                                      v.                         )
                                                                         15                                      )
                                                                                MITSUBISHI ELECTRIC CORP., et    )
                                                                         16   al.,                               )
                                                                                                                 )
                                                                         17                      Defendants.     )
                                                                                                                 )
                                                                         18                                      )
                                                                         19
                                                                         20        Now before the Court is Defendant Mitsubishi Electric's
                                                                         21   ("Mitsubishi") motion to modify the schedule for briefing on the
                                                                         22   Direct Purchaser Plaintiffs' ("DPPs") motion for class
                                                                         23   certification.    ECF No. 3501 ("Mot.").      DPPs oppose, ECF No. 3525
                                                                         24   ("Opp'n"), and Mitsubishi filed a reply.        ECF No. 3618 ("Reply").
                                                                         25   The Court finds the motion is appropriate for disposition without
                                                                         26   oral argument.    For the reasons set forth below, the motion is
                                                                         27   DENIED.
                                                                         28        In December, DPPs and Mitsubishi entered into a stipulation
                                                                               Case 3:07-cv-05944-JST Document 3794 Filed 03/24/15 Page 2 of 4




                                                                          1   regarding scheduling for briefing on DPPs' motion for class
                                                                          2   certification.    ECF No. 3184 ("Stip.").      This stipulation required
                                                                          3   DPPs to make their class certification expert available for
                                                                          4   deposition on or before January 31, 2015, oppositions and expert
                                                                          5   reports to be served on or before February 27, 2015, a reply to be
                                                                          6   filed on or before April 17, 2015, and a deposition of any
                                                                          7   opposition experts prior to or on March 27, 2014 (although this is
                                                                          8   a typo and the parties clearly intended March 27, 2015).           Id.
                                                                          9   Citing the settlement between Thomson and DPPs, ongoing discovery
                                                                         10   between Mitsubishi and the DPPs, and the trial date for these
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                                                                         11   actions, which was set for March 9, 2015, Mitsubishi sought a
                                                                         12   stipulation from DPPs to make additional changes to the schedule
                                                                         13   for the class certification motion.       Mot. at ¶¶ 7-10.     DPPs
                                                                         14   refused, and Mitsubishi filed this motion arguing that good cause
                                                                         15   exists for an approximately two-month extension of the deadlines.
                                                                         16           After Mitsubishi filed its opening brief, the Court vacated
                                                                         17   the March 9, 2015 trial date.      ECF No. 3515.     In DPPs' view, the
                                                                         18   elimination of the pressures of trial preparation, coupled with the
                                                                         19   lack of evidence of diligence or good cause on the part of
                                                                         20   Mitsubishi either obviates the need to change the schedule or
                                                                         21   precludes granting the motion.      Before the Court could address this
                                                                         22   motion, Mitsubishi filed its opposition to DPPs' class
                                                                         23   certification motion according to the existing schedule.           ECF No.
                                                                         24   3709.    While the parties had some scheduling disagreements, the
                                                                         25   Court also assumes that the deposition of DPPs' class certification
                                                                         26   expert, Jeffrey Leitzinger, which was supposed to take place on or
                                                                         27   before January 31, 2015, has already taken place.         Nevertheless,
                                                                         28   Mitsubishi apparently continues to believe an extension is



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                                                                          1   necessary.
                                                                          2        Scheduling orders "may be modified only for good cause and
                                                                          3   with the judge's consent."     Fed. R. Civ. P. 16(b)(4).       Pretrial
                                                                          4   scheduling orders may be modified if the dates scheduled "cannot
                                                                          5   reasonably be met despite the diligence of the party seeking the
                                                                          6   extension."   Johnson v. Mammoth Recreations, Inc., 975 F.2d 604,
                                                                          7   609 (9th Cir. 1992).    The focus of the good cause inquiry is "on
                                                                          8   the moving party's reasons for seeking modification.          If that party
                                                                          9   was not diligent, the inquiry should end."        Id.   As the undersigned
                                                                         10   has previously observed, "centering the good cause analysis on the
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                                                                         11   moving party's diligence prevents parties from profiting from
                                                                         12   carelessness, unreasonability, or gamesmanship, while also not
                                                                         13   punishing parties for circumstances outside their control."         In re
                                                                         14   Cathode Ray Tube (CRT) Antitrust Litig., No. C-07-5944-SC, 2014 WL
                                                                         15   4954634, at *2 (N.D. Cal. Oct. 1, 2014) (citing Orozco v. Midland
                                                                         16   Credit Mgmt. Inc., No. 2:12-cv-02585-KJM-CKD, 2013 WL 3941318, at
                                                                         17   *3 (E.D. Cal. July 30, 2013)).
                                                                         18        The Court finds that the elimination of the pressure of
                                                                         19   preparing for the now-vacated March 9 trial date ensures that the
                                                                         20   dates in the existing schedule can now "reasonably be met" with
                                                                         21   diligence on the part of Mitsubishi.       Johnson, 975 F.2d at 609.
                                                                         22   Confirming that conclusion, Mitsubishi was able to file its
                                                                         23   opposition to DPPs' class certification motion on time after the
                                                                         24   Court vacated the trial date.
                                                                         25        Moreover, the fact that Mitsubishi already filed its
                                                                         26   opposition brief means that the only remaining deadlines it asks to
                                                                         27   alter either apply exclusively to the DPPs (the April 17, 2015
                                                                         28   reply deadline) or were not the focus of Mitsubishi's motion (the



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                                                                          1   March 27, 2015 deadline for deposing any Mitsubishi class
                                                                          2   certification expert).      Yet based on the Court's review of
                                                                          3   Mitsubishi's class certification opposition and declarations,
                                                                          4   Mitsubishi appears to rely merely on its economic expert, Dov
                                                                          5   Rothman, who does not address class certification or DPPs' expert
                                                                          6   at all.    See generally ECF No. 3708-10 ("Rothman Report").       As a
                                                                          7   result, it is unclear if Mitsubishi would even have to produce Mr.
                                                                          8   Rothman for deposition under the parties' stipulated schedule.
                                                                          9   That means that even if the Court sets aside the parties' dispute
                                                                         10   over Mitsubishi's diligence, granting the motion would only result
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                                                                         11   in the extension of (1) a deadline for DPPs (who do not seek an
                                                                         12   extension of time), and (2) a deadline that does not apply to
                                                                         13   Mitsubishi.    This renders the motion either simply unnecessary or
                                                                         14   moot.
                                                                         15           For these reasons, Mitsubishi's motion to modify the class
                                                                         16   certification scheduling order is DENIED.
                                                                         17
                                                                         18           IT IS SO ORDERED.
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                                                                         20           Dated: March 24, 2015
                                                                                                                   UNITED STATES DISTRICT JUDGE
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